                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR08-4006-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                                  ON MOTIONS TO SUPPRESS
 DOUGLAS DEAN JOHNSON,
               Defendant.
                                 ____________________


       This matter is before the court on two motions to suppress filed by the defendant
Douglas Dean Johnson. In one motion, Doc. No. 71, Johnson seeks to suppress evidence
seized from a Primghar, Iowa, residence during execution of a search warrant issued on
May 8, 2007. In a separate motion, Doc. No. 70, he seeks to suppress evidence seized
during a search of his property, outbuildings, and curtilage in Clay County, Iowa, during
execution of a search warrant issued on July 11, 2008. Johnson argues neither of the
search warrant applications established probable cause to issue the warrant. The plaintiff
(the “Government”) has resisted both motions.         Doc. Nos. 82 & 81, respectively.
Pursuant to the Trial Management Order, Doc. No. 16, motions to suppress were assigned
to the undersigned United States Magistrate Judge for review, the holding of any
evidentiary hearing, and the filing of a report and recommended disposition of the motions.
The court held a hearing on the motions on March 27, 2008, at which Assistant United
States Attorney Kevin Fletcher appeared on behalf of the Government, and Johnson
appeared in person with his attorney, Al Willett.
       Both parties agree that because the magistrates who issued the warrants relied solely
on the affidavits in support of the two search warrants, “only that information which is
found within the four corners of the affidavit may be considered in determining the
existence of probable cause.” United States v. Etheridge, 165 F.3d 655, 656 (8th Cir.


   Case 5:08-cr-04006-MWB-LTS          Document 88      Filed 04/01/08    Page 1 of 16
1999) (internal quotation marks, citations omitted). Therefore, no testimony was offered
at the hearing, and the court heard oral argument on the motions. At the parties’ request,
the court will consider the exhibits attached to Johnson’s motions to be true and correct
copies of the two warrants, warrant applications, affidavits, and supporting documents.
See Doc. Nos. 70-3 & 71-3. The court will discuss the law applicable to review of a
search warrant application, and then will address the challenged search warrants in
chronological order.


                                    Applicable Law
      The United States Supreme Court has set the standard for review of a search
warrant application, as follows:
                    [W]e have repeatedly said that after-the-fact scrutiny by
             courts of the sufficiency of an affidavit should not take the
             form of de novo review. A magistrate’s “determination of
             probable cause should be paid great deference by reviewing
             courts.” Spinelli [v. United States,] 309 U.S. [410,] 419, 89
             S. Ct. [1509,] 590[, 21 L. Ed. 2d 637 (1969)]. “A grudging
             or negative attitude by reviewing courts toward warrants,”
             [United States v.] Ventresca, 380 U.S. [102,] 108, 85 S. Ct.
             [741,] 745, [13 L. Ed. 2d 684 (1965)], is inconsistent with the
             Fourth Amendment’s strong preference for searches conducted
             pursuant to a warrant [and] “courts should not invalidate . . .
             warrant[s] by interpreting affidavit[s] in a hypertechnical,
             rather than a commonsense, manner.” Id., [380 U.S.] at 109,
             85 S. Ct. at 746.
                    . . . . Reflecting this preference for the warrant
             process, the traditional standard for review of an issuing
             magistrate’s probable cause determination has been that so
             long as the magistrate had a “substantial basis for . . .
             conclud[ing]” that a search would uncover evidence of
             wrongdoing, the Fourth Amendment requires no more. Jones
             v. United States, 362 U.S. 257, 271, 80 S. Ct. 725, 736, 4
             L. Ed. 2d 697 (1960). See United States v. Harris, 403 U.S.


                                            2


   Case 5:08-cr-04006-MWB-LTS         Document 88      Filed 04/01/08     Page 2 of 16
              573, 577-583, 91 S. Ct. 2075, 2079-2082, 29 L. Ed. 2d 723
              (1971). [FN10]
                     [FN10] We also have said that “Although in a
                     particular case it may not be easy to determine
                     when an affidavit demonstrates the existence of
                     probable cause, the resolution of doubtful or
                     marginal cases in this area should be largely
                     determined by the preference to be accorded to
                     warrants,” Ventresca, supra, 380 U.S. at 109,
                     85 S. Ct. at 746. This reflects both a desire to
                     encourage use of the warrant process by police
                     officers and a recognition that once a warrant
                     has been obtained, intrusion upon interests
                     protected by the Fourth Amendment is less
                     severe than otherwise may be the case.
Illinois v. Gates, 462 U.S. 213, 236-37 & n.10, 103 S. Ct. 2317, 2331 & n.10, 76 L. Ed.
2d 527 (1983).
       Thus, the scope of this court’s review of the search warrant in this case is limited
to a determination of whether the magistrate had a “substantial basis” to conclude a search
would uncover evidence of wrongdoing. In conducting this review, the court is mindful
that
              affidavits “are normally drafted by nonlawyers in the midst
              and haste of a criminal investigation. Technical requirements
              of elaborate specificity once exacted under common law have
              no proper place in this area.” Ventresca, supra, 380 U.S. at
              108, 85 S. Ct. at 745. . . . [M]any warrants are – quite
              properly . . . issued on the basis of nontechnical, common-
              sense judgment of laymen applying a standard less demanding
              than those used in more formal legal proceedings.
Gates, 462 U.S. at 235-36, 103 S. Ct. at 2331. As the Supreme Court further explained:
              The task of the issuing magistrate is simply to make a
              practical, common-sense decision whether, given all the
              circumstances set forth in the affidavit before him, including
              the “veracity” and “basis of knowledge” of persons supplying


                                            3


   Case 5:08-cr-04006-MWB-LTS          Document 88      Filed 04/01/08    Page 3 of 16
              hearsay information, there is a fair probability that contraband
              or evidence of a crime will be found in a particular place.
              And the duty of a reviewing court is simply to ensure that the
              magistrate had a “substantial basis for . . . conclud[ing]” that
              probable cause existed. Jones v. United States, 362 U.S.
              [257,] 271, 80 S. Ct. [725,] 736[, 4 L. Ed. 2d 697 (1960)].
              We are convinced that this flexible, easily applied standard
              will better achieve the accommodation of public and private
              interests that the Fourth Amendment requires than does [the
              prior legal standard].
Gates, 462 U.S. at 238-39, 103 S. Ct. at 2332. Accord United States v. Lucca, 377 F.3d
927, 933 (8th Cir. 2004) (noting the reviewing court must pay “great deference” to the
issuing magistrate’s probable cause determinations, citing Gates).
       Notably, even if, in hindsight, the information in the affidavit is deemed insufficient
to support a finding of probable cause to issue the warrant, the evidence will not be
suppressed if the officers acted in reasonable, good faith reliance on a search warrant
issued by a neutral and detached magistrate. United States v. Leon, 468 U.S. 897, 922-23,
104 S. Ct. 3405, 3420, 82 L. Ed. 2d 677 (1984); accord Lucca, 377 F.3d at 933.
“Nevertheless, the officer’s reliance on the magistrate’s probable-cause determination and
on the technical sufficiency of the warrant he issues must be objectively reasonable, . . .
and it is clear that in some circumstances the officer will have no reasonable grounds for
believing that the warrant was properly issued.” Id., 468 U.S. at 922-23, 104 S. Ct. at
3420 (citations and footnote omitted). As the United States Supreme Court noted in Leon:
              It is necessary to consider the objective reasonableness, not
              only of the officers who eventually executed a warrant, but
              also of the officers who originally obtained it or who provided
              information material to the probable-cause determination.
              Nothing in our opinion suggests, for example, that an officer
              could obtain a warrant on the basis of a “bare bones” affidavit
              and then rely on colleagues who are ignorant of the
              circumstances under which the warrant was obtained to
              conduct the search. [Citations omitted.]


                                              4


   Case 5:08-cr-04006-MWB-LTS           Document 88      Filed 04/01/08     Page 4 of 16
Id., 468 U.S. at 923 n.24, 104 S. Ct. at 3420 n.24.
       Thus, if serious deficiencies exist either in the warrant application itself (e.g., where
“the magistrate or judge in issuing a warrant was misled by information in an affidavit that
the affiant knew was false or would have known was false except for his reckless disregard
of the truth,” id., 468 U.S. at 923, 104 S. Ct. at 3421 (citing Franks v. Delaware, 438
U.S. 154, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978)), or in the magistrate’s probable cause
determination, then the Leon good faith exception may not apply. As the Leon Court
explained:
                      Deference to the magistrate, however, is not boundless.
              It is clear, first, that the deference accorded to a magistrate’s
              finding of probable cause does not preclude inquiry into the
              knowing or reckless falsity of the affidavit on which that
              determination was based. Second, the courts must also insist
              that the magistrate purport to “perform his ‘neutral and
              detached’ function and not serve merely as a rubber stamp for
              the police.” A magistrate failing to “manifest that neutrality
              and detachment demanded of a judicial officer when presented
              with a warrant application” and who acts instead as “an
              adjunct law enforcement officer” cannot provide valid
              authorization for an otherwise unconstitutional search.
                      Third, reviewing courts will not defer to a warrant
              based on an affidavit that does not “provide the magistrate
              with a substantial basis for determining the existence of
              probable cause.” “Sufficient information must be presented to
              the magistrate to allow that official to determine probable
              cause; his action cannot be a mere ratification of the bare
              conclusions of others.” Even if the warrant application was
              supported by more than a “bare bones” affidavit, a reviewing
              court may properly conclude that, notwithstanding the
              deference that magistrates deserve, the warrant was invalid
              because the magistrate’s probable-cause determination
              reflected an improper analysis of the totality of the
              circumstances, or because the form of the warrant was
              improper in some respect.


                                               5


   Case 5:08-cr-04006-MWB-LTS           Document 88        Filed 04/01/08     Page 5 of 16
Leon, 468 U.S. at 914-15, 104 S. Ct. at 3416 (internal citations omitted). The Court noted
that good faith on law enforcement’s part in executing a warrant “is not enough,” because
“[i]f subjective good faith alone were the test, the protections of the Fourth Amendment
would evaporate, and the people would be ‘secure in their persons, houses, papers, and
effects,’ only in the discretion of the police.” Leon, 468 U.S. at 915 n.13, 104 S. Ct. at
3417 n.13 (citing Beck v. Ohio, 379 U.S. 89, 97, 85 S. Ct. 223, 228, 13 L. Ed. 2d 142
(1964), and Henry v. United States, 361 U.S. 98, 102, 80 S. Ct. 168, 171, 4 L. Ed. 23
134 (1959)).
       Even if a magistrate improperly analyzes the totality of the circumstances in finding
probable cause, under Leon, the exclusionary rule should not be applied to exclude
evidence as a means of punishing or deterring an errant or negligent magistrate. The
Supreme Court found that penalizing officers who act in good faith on a warrant for a
magistrate’s error in issuing the warrant “cannot logically contribute to the deterrence of
Fourth Amendment violations.” Leon, 468 U.S. at 921, 104 S. Ct. at 3419. The relevant
question is whether law enforcement actions were objectively reasonable; i.e., whether
“the offending officers acted in the objectively reasonable belief that their conduct did not
violate the Fourth Amendment.” Leon, 468 U.S. at 918, 104 S. Ct. at 3418. The Leon
Court noted:
                       As we observed in Michigan v. Tucker, 417 U.S. 433,
               447, 94 S. Ct. 2357, 2365, 41 L. Ed. 2d 182 (1974), and
               reiterated in United States v. Peltier, 422 U.S. at 539, 95 S.
               Ct. at 2318:
                              “The deterrent purpose of the
                       exclusionary rule necessarily assumes that the
                       police have engaged in willful, or at the very
                       least negligent, conduct which has deprived the
                       defendant of some right. By refusing to admit
                       evidence gained as a result of such conduct, the
                       courts hope to instill in those particular
                       investigating officers, or in their future


                                             6


   Case 5:08-cr-04006-MWB-LTS          Document 88       Filed 04/01/08    Page 6 of 16
                     counterparts, a greater degree of care toward the
                     rights of an accused. Where the official action
                     was pursued in complete good faith, however,
                     the deterrence rationale loses much of its force.”

              The Peltier Court continued, id. at 542, 95 S. Ct. at 2320:
                           “If the purpose of the exclusionary rule is
                    to deter unlawful police conduct, then evidence
                    obtained from a search should be suppressed
                    only if it can be said that the law enforcement
                    officer had knowledge, or may properly be
                    charged with knowledge, that the search was
                    unconstitutional under the Fourth Amendment.”
Leon, 468 U.S. at 919, 104 S. Ct. at 3418-19.


                            O’Brien County Search Warrant
       On May 8, 2007, Lt. Randall Kramer, an O’Brien County Sheriff’s Deputy,
prepared an Application for Search Warrant to search the following person and property:
              Douglas Dean Johnson
              375 3rd Street N.W. Primghar, O’Brien County, Iowa;
              Described as brown 1 1/2 story single family dwelling with an
              attached 2 stall garage (see attached O’Brien County
              Assessor’s sheet and photos)
              1991 Chev blue/silver pickup bearing Iowa license [number]
              1984 Chev Cavalier brown-bearing Iowa license [number]
              2000 Ford Taurus blue-bearing Iowa license [number]
Doc. No. 71-3 at 5. Lt. Kramer stated the above person and property contained “certain
property, namely: Pseudoephedrine pills, lithium batteries, ether, sulfuric acid, muriatic
acid, plastic tubing, glass ware, coffee filters, packaging materials, blender, aluminum
foil, methamphetamines, drug paraphernalia, ledgers, scales, monies, [and] drug notes,”
all of which he indicated was “[p]roperty that has been obtained in violation of law”;
“[p]roperty, the possession of which is illegal”; “[p]roperty used or possessed with intent


                                             7


   Case 5:08-cr-04006-MWB-LTS          Document 88      Filed 04/01/08    Page 7 of 16
to be used as the means of committing a public offense or concealed to prevent an offense
from being discovered”; and “[p]roperty relevant and material as evidence in a criminal
prosecution.” Id. at 5-6.
        In support of the search warrant application, Lt. Kramer submitted an Affidavit in
which he stated, “Doug Johnson has made the following purchases of products containing
pseudoephedrine on the dates listed,” listing nine transactions between April 11 and
April 26, 2007, at several pharmacies in Minnesota, and one pharmacy in Iowa. Id. at 10.
He stated the nine pseudoephedrine purchases by “Doug Johnson in a 30 day period”
totaled “20.4 grams of pseudoephedrine.” Id. He cited “Iowa Code § 126.23A(2)a,”
which he stated prohibits a person from purchasing more than 7500 milligrams, or 7.5
grams, of pseudoephedrine in any 30-day period. He further stated the following:
              Based on this investigator[’]s training and experience it is
              known that persons that are involved with manufacturing
              methamphetamine will travel to several stores to obtain the
              pseudoephedrine pills, lithium batteries and other items that
              are needed to manufacture the methamphetamines. It is also
              known by this investigator based on his training and
              experience that persons involved in the gathering of the
              materials used in the manufacturing of methamphetamines, will
              store (hide) these items at their residence and/or in their
              vehicles. That persons involved with the gathering and/or
              manufacturing of methamphetamines will also be involved in
              the sale and/or use of illegal drugs and that they will store
              (hide) items such as pipes, scales, ledgers, illegal drugs,
              monies, and other drug paraphernalia at their residence and/or
              in their vehicles.
Id.
        Lt. Kramer attached a printout from the O’Brien County Assessor’s Office showing
that the real property located at 375 3rd Street, N.W. in Primghar, Iowa, was owned by
a Denise D. Moore f/k/a Denise D. Philiph, and listing certain information about the
residence on the property (dimensions, number of bedrooms and bathrooms, finish,


                                             8


      Case 5:08-cr-04006-MWB-LTS       Document 88     Filed 04/01/08    Page 8 of 16
plumbing, appliances, etc.). He also attached an unlabeled photograph of a house,
presumably the house in question. Id. at 7-9.
       No other information was provided in support of the search warrant application.
The magistrate who reviewed the application indicated he had “relied on [the] written
Application for Search Warrant of Randall Kramer, Attachment A [the Affidavit] and
attached Asses[s]or record and photo.” Id. at 11. Under “Abstract of Testimony,” the
magistrate wrote “None,” indicating no further information was received beyond that set
forth in the application. Id.
       In the application for the search warrant and the supporting documents, Lt. Kramer
made no connection whatsoever between Johnson and the property to be searched, nor did
he inform the court how he determined that the defendant Douglas Dean Johnson was the
same “Doug Johnson” who purchased the pseudoephedrine. The officer provided no
information to indicate Johnson’s connection to the residence sought to be searched; his
relationship, if any, to or with the property owner Ms. Moore; who owned the vehicles
listed in the warrant application and what their connection was to the residence or to
Johnson; or what information led the officer to believe evidence of criminal activity might
be found at the residence, in the vehicles, or on Johnson’s person. Regarding the list of
pseudoephedrine purchases, the officer stated he had “conducted an investigation and
received information from fellow officers and other sources” indicating “Doug Johnson”
had made the listed pseudoephedrine purchases. See Doc. No. 71-3 at 10. He failed to
cite the source of his information sufficiently for the court to determine if the source was
reliable.
       On its face, the warrant application failed to support a probable cause determination.
The application failed to provide a substantial basis for anyone to “make a practical,
common-sense decision” that contraband or evidence of a crime likely would be found on




                                             9


   Case 5:08-cr-04006-MWB-LTS          Document 88       Filed 04/01/08    Page 9 of 16
Johnson’s person, in the listed vehicles, or at the residence. Notably, the Government
basically conceded this point at the hearing.
      Apparently, Ms. Moore is Johnson’s fiancée, and Johnson was living at the
Primghar residence.     However, even though these facts may have been known to
Lt. Kramer, they were not included in the warrant application. Considering only the
information found within the four corners of the warrant application, the application and
supporting documents failed to support the magistrate’s probable cause determination. See
Gates, supra; Lucca, supra; Etheridge, supra. Further, the court finds the warrant
application was so facially deficient that the magistrate’s issuance of the warrant was “a
rubber stamp for the police,” merely ratifying the bare bones conclusions of Lt. Kramer.
See Leon, 468 U.S. at 91-15, 104. S. Ct. at 3416. Thus, the exclusionary rule should be
applied and the evidence seized during execution of the O’Brien County warrant should
be excluded.
      The seized evidence included two items. First, the officers seized two pages of
phone numbers. The Government indicated at the hearing that those two pages of phone
numbers cannot be located, and the Government will not offer those pages into evidence
at the trial. Johnson’s motion should be granted as to the two pages of phone numbers.
Second, the officers seized a receipt from a Walgreen’s in Worthington, Minnesota,
showing the purchase of pseudoephedrine on April 26, 2007. The same purchase of the
drug is listed in the warrant application, see Doc. No. 71-3 at 10, and the Government
obtained a copy of the receipt from Walgreen’s, independently of the discovery of the
identical receipt during execution of the search warrant. Thus, it appears the copy of the
receipt obtained from Walgreen’s would be admissible at trial. However, because the
search warrant is invalid, the Government should be precluded from offering evidence that
the receipt was found at the Primghar residence.




                                            10


  Case 5:08-cr-04006-MWB-LTS          Document 88     Filed 04/01/08    Page 10 of 16
                             Clay County Search Warrant
      On July 11, 2007, Clay County Sheriff’s Deputy Casey Timmer prepared an
Application for Search Warrant to search “a Morton-type building on the property of Doug
Johnson located at 2970 290th Street, Dickens, Clay County, Iowa, other outbuildings on
the property, [and] the curtilage of said property,” for “pseudoephedrine, metham-
phetamine, ledger books, books of account, scales, seal a meal machines, baggies or other
packaging materials, paraphernalia used for the consumption and packaging of drugs or
to contain the same, money, and remnants of methamphetamine lab[.]” Doc. No. 70-3 at
2. In support of the warrant application, Deputy Timmer prepared an affidavit in which
he detailed pseudoephedrine purchases by “Doug Johnson” between June 18 and 26, 2007,
totaling 10,320 mg., in excess of the legal limit of 7500 mg. in a thirty-day period under
Iowa law. See id. at 3-4.
      In his affidavit, Deputy Timmer also provided the following information:
                    The [pharmacy] logs show a Primghar address for
             Johnson. The undersigned is aware that Johnson also owns a
             property located at 2970 290th Street, Dickens, Clay County,
             Iowa. On this date [i.e. July 11, 2007], the undersigned went
             to that property with O’Brien County Lt. Randy Kramer.
             While at the residence, the undersigned spoke with the tenants
             of the property, Randy and Kim Berger. Tenants advised that
             they do not have access to a certain Morton-type building on
             the property, but that Johnson does frequent that building at
             least weekly. The undersigned could see that the windows of
             the building are covered with a combination of wood,
             cardboard, and styrofoam. Tenants also showed the under-
             signed a burn barrel on the premises. In plain view toward the
             top of the pile in the burn barrel were a number of ripped
             lithium batteries, consistent with having been used in the
             methamphetamine manufacturing process, along with what
             appears to be empty pseudoephedrine blister packs. There are
             a number of other outbuildings on the premises where illegal
             items could be stored.


                                           11


  Case 5:08-cr-04006-MWB-LTS         Document 88      Filed 04/01/08    Page 11 of 16
                     Based on training and experience, I know that persons
              manufacturing methamphetamine can and do use other people
              to purchase pseudoephedrine for them. Pseudoephedrine is a
              key ingredient in the manufacture of methamphetamine.
              People buying pseudoephedrine for meth manufacturers often
              receive meth in exchange for these purchases. These persons
              also will shop different stores on the same date in an attempt
              to avoid detection by law enforcement. As users of meth, they
              often maintain drugs, paraphernalia, notes, and cash for the
              purchases of pseudoephedrine in their homes or other
              buildings. They also use their vehicles for transportation to
              make the purchases and to store the contraband.
              Johnson shopped for pseudoephedrine in different stores on the
              same date. He also violated Iowa Code § 124.213 by
              purchasing more than 7500 mg pseudoephedrine in a 30 day
              period. These are indications that the pseudoephedrine was
              purchased for use in the manufacture of meth.
                     A review of Johnson’s criminal history shows drug
              related convictions.
Doc. No. 70-3 at 4-5.
       In the magistrate’s Endorsement on the search warrant application, she indicated she
relied on Deputy Timer’s affidavit and also on sworn testimony taken from the deputy.
As the abstract of the officer’s testimony, the magistrate incorporated the deputy’s
Affidavit. Doc. No. 70-3 at 6. The magistrate found the information presented justified
probable cause, and she issued the search warrant. Id.
       Johnson argues his “mere purchases of pseudoephedrine” are insufficient, standing
alone, to support the magistrate’s probable cause determination for issuance of the warrant.
He argues further that the information provided by the tenants of Johnson’s Clay County
property was “insufficient and stale as it pertains to the granting of a search warrant.”
Doc. No. 70-2 at 2. Johnson claims that although the tenants told the officer that Johnson
visited the property “at least weekly,” there was no information about the last time
Johnson was present at the property. The tenants stated they did not have access to the

                                            12


   Case 5:08-cr-04006-MWB-LTS         Document 88       Filed 04/01/08    Page 12 of 16
Morton-type building, but Johnson did have access to the structure. However, there is no
information about who else may have had access to the building. They showed the officer
the burn barrel containing items of interest to his investigation, but they offered no
information about when the burn barrel was used last, or by whom. Johnson argues that
overall, the information contained in the warrant application was insufficient to show a
reasonable probability that evidence of a crime would be found in the place sought to be
searched. Id. at 2-4, citing United States v. Turner, 431 F.3d 332, 336 (8th Cir. 2006)
(citing Gates); United States v. Gettle, 474 F.3d 1081, 1086 (8th Cir. 2007) (discussing
factors in determining staleness, holding “[p]robable cause must exist at the time the search
warrant is issued.”).
       The Government argues the warrant application contained sufficient information to
support the magistrate’s probable cause determination, pointing to six items of evidence
that, when taken together, supported the officer’s good faith belief that evidence of a crime
could be found at the property:
       (1)    The five purchases of pseudoephedrine from June 18, 2007,
              through June 26, 2007, show defendant, in a thirty day period
              purchased 10,320 milligrams of pseudoephedrine;
       (2)    The purchases of pseudoephedrine exceeded 7,500 milligrams
              of pseudoephedrine Doug Johnson could purchase in a 30 day
              period under Iowa Code Section 126.213A;
       (3)    The pseudoephedrine logs from the local pharmacies show
              defendant’s address in Primghar, Iowa, but Inv. Timmer was
              personally aware defendant also owns a property located at
              2970 290th Street, Dickens, Clay County, Iowa;
       (4)    Inv. Timmer and Lt. Randy Kramer of the O’Brien County
              Sheriff’s Office, on July 11, 2007, went to defendant’s
              property at 2970 290th Street in Dickens, Iowa. Inv. Timmer
              spoke with the tenants of the property, Randy and Kim Berger.
              The tenants advised they do not have access to a certain
              Morton-type building on the property, but that defendant does
              frequent that building at least weekly. Inv. Timmer saw the

                                             13


   Case 5:08-cr-04006-MWB-LTS          Document 88      Filed 04/01/08     Page 13 of 16
              windows of the outbuilding are covered with a combination of
              wood, cardboard, and styrofoam. The tenants also showed
              Inv. Timmer a burn barrel on the premises, where in plain
              view, on top of the pile in the burn barrel were a number of
              ripped lithium batteries and empty pseudoephedrine blister
              packs. These items, the ripped lithium batteries and empty
              pseudoephedrine blister packs, are consistent with having been
              used in the methamphetamine manufacturing process;
       (5)    Inv. Timmer is a 7 1/2 year law enforcement officer with 1
              year of investigative experience. [See Doc. No. 70-3 at 3.)
              The training and experience of Inv. Timmer shows that
              persons manufacturing methamphetamine can and do use other
              people to purchase pseudoephedrine for them.
              Pseudoephedrine is a key ingredient in the manufacture of
              methamphetamine. People buying pseudoephedrine for meth
              manufactures often receive meth in exchange for these
              purchases. These persons also will shop different stores on the
              same date in an attempt to avoid detection by law enforcement.
              As users of meth, they often maintain drugs, paraphernalia,
              notes, and cash for the purchases of pseudoephedrine in their
              homes or other buildings. They also use their vehicles for
              transportation to make the purchases and to store the contra-
              band. The purchases of pseudoephedrine in violation of Iowa
              law indicates the pseudoephedrine was purchase[d] for use in
              the manufacture of meth; and,
       (6)    Inv. Timmer also performed a review of defendant’s criminal
              history which showed drug related convictions.
Doc. No. 81-2 at 5-7.
       The court finds the totality of the information presented to the magistrate would
support “a practical, common-sense decision . . . that contraband or evidence of a crime
[would] be found” on Johnson’s property. Gates, 462 U.S. at 238-39, 103 S. Ct. at 2332.
Giving the magistrate’s probable cause determination the “great deference” it deserves, the
court further finds the magistrate had a substantial basis for concluding a search of the
property would uncover evidence of wrongdoing. Id.; see Lucca, 377 F.3d at 933.


                                            14


  Case 5:08-cr-04006-MWB-LTS          Document 88      Filed 04/01/08    Page 14 of 16
       Johnson’s staleness argument is without merit under these facts. In order to justify
a search warrant for the property, it is irrelevant whether others besides Johnson also had
access to the Morton-type building or to the burn barrel. The officers saw, in plain view,
evidence that precursors for the manufacture of methamphetamine had been burned in the
burn barrel on property owned by Johnson. The property’s tenants stated Johnson
frequented the property at least weekly. The officers had pharmacy logs showing Johnson
had purchased in excess of the legal limit of pseudoephedrine. And they had evidence that
Johnson had prior drug-related convictions. While Johnson’s argument about who had
access to the property and when may be useful in defending the case, it does not defeat the
fact that the magistrate had ample information before her to support probable cause to
search Johnson’s property.
       Further, even if the warrant application was lacking, the court finds that in the case
of the Clay County warrant, the officers reasonably and in good faith relied on the warrant
issued by the magistrate. Their belief that their conduct did not violate the Fourth
Amendment was objectively reasonable, and the evidence seized in the search should not
be suppressed. See Leon, supra.
       Therefore, for the reasons discussed above, IT IS RESPECTFULLY
RECOMMENDED that Johnson’s motion (Doc. No. 71) to suppress the evidence seized
in the search of the Primghar residence be granted, and his motion (Doc. No. 70) to
suppress the evidence seized in the search of the Clay County property be denied.
       Any party planning to file objections to this Report and Recommendation must order
a transcript of the suppression hearing by April 4, 2008, regardless of whether the party
believes a transcript is necessary to argue the objection. If an attorney files an objection
to this Report and Recommendation without having ordered the transcript as required by
this order, the court may impose sanctions on the attorney.




                                             15


   Case 5:08-cr-04006-MWB-LTS          Document 88      Filed 04/01/08     Page 15 of 16
      Objections to this Report and Recommendation must be filed by April 8, 2008.
Responses to objections must be filed by April 15, 2008.
      IT IS SO ORDERED.
      DATED this 1st day of April, 2008.




                                       PAUL A. ZOSS
                                       CHIEF MAGISTRATE JUDGE
                                       UNITED STATES DISTRICT COURT




                                          16


  Case 5:08-cr-04006-MWB-LTS        Document 88     Filed 04/01/08   Page 16 of 16
